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                Exhibit 35
‘I think we’re in a good spot now’: President Fuchs addresses controvers...   https://www.wcjb.com/2021/11/30/i-think-were-good-spot-now-universit...
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          ‘I think we’re in a good spot now’: President Fuchs
          addresses controversy after UF professors barred
          from testifying against state

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          GAINESVILLE, Fla. (WCJB) - University of Florida President Kent Fuchs addressed the
          controversy surrounding the task force created after three professors were blocked from testifying
          against the state. Fuchs said he feels he’s in good standing with professors who were concerned
          about the situation they say took their academic freedom of speech away.

          Related story: University of Florida releases results of task force and response to inquiry on
          conflict of interest policy

          After an outcry from UF faculty, staff and students, Fuchs accepted last week recommendations
          from the UF task force, made up of professors and administrators, that introduces a process where
          faculty members from each college would hear a professors request to testify as an expert witness
          against the state and either approve or deny the request.

          “There will also be representation from each one of the colleges, typically a faculty member who has
          expertise in that area.”

          He said he believes it would be rare for a request to be denied.

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          participation in legal challenges to state laws

          “Well the task force says it needs to be an unusual circumstance where there would really be harm
          to the university if a person can’t participate in the outside activity,” Fuchs explained. “So, it’ll be
          unusual if that takes place but it theoretically could but again it would have to go through this whole
          appeals process and the final decider would be the provost.”

          He believes he’s on good terms with faculty members who were concerned about the situation.

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          task force

          “I think we’re in a good spot now,” Fuchs said.” Based on the recommendations of the task force
          that I’ve accepted where faculty members indeed in rare occupations will have to go through an
          appeal process. Most of them won’t have to declare the activity but if it is an activity that needs to
          be declared then most of them my guess will be approved and then if they’re not approved they go
          through an appeals process.”

          He said the final decision of that appeal process will come from the provost.

          Earlier the United Faculty of Florida at UF called for an independent body to make
          recommendations.

          President Fuchs said the task force’s recommendations are similar to other research universities in


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